IS44 (Rev, 08/18) Case 4:21-cv-00153-ReByeRR Cope eee SHERT!€ 05/14/21 Page 1of1

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

 

 

I. (a) PLAINTIFFS DEFENDANTS
Angela Nails Savannah Plastic Surgery
(b) County of Residence of First Listed Plaintiff Georiga County of Residence of First Listed Defendant _Missouri
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
N Ac) Attomeys (Firm Name, Address, and Telephone Number) N Attomeys (if Known)
II. BASIS OF JURISDICTION (Piece an “x” i One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “x” in One Box for Plaintiff
(Far Diversity Cases Only) and One Box for Defendant)

O 1. U.S. Government 3° Federal Question PTF DEF PTF DEF

Plaintiff (U.S. Government Net a Party) Citizen of This State 1 a Incorporated or Principal Place o4 a4

of Business In This State

O 2 US. Government 04 Diversity Citizen of Another State *2 38 2 Incorporated and Principal Place o5 05

Defendant (Indicate Citizenship of Parties in lem If) of Business In Another State

Citizen or Subject of a O3 O 3. Foreign Nation go6 06
Foreign Country

 

 

 

     
 

  
 

    

f Suit Code

IV. NATURE OF SUIT (Place an "X" in One Box scription

  

Only) Click here for: Nature 0

   

  

  
 
 

   

  

 

   
  
 

  
    

    

             
 
     

 

 

 

 

 

CONTRA’ j ANKRUE] .
O 110 Insurance PERSONAL INJURY PERSONAL INJURY |0 625 Drug Related Seizure 0 422 Appeal 28 USC 158 O 375 False Claims Act
© 120 Marine O 310 Airplane © 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal S 376 Qui Tam (31 USC
0 130 Miller Act 0 315 Airplane Product Product Liability OF 690 Other 28 USC 157 3729(a))
O 140 Negotiable Instrument Liability O 367 Health Care/ © 400 State Reapportionment
0 150 Recovery of Overpayment {0 320 Assault, Libel & Pharmaceutical P ERTY sHIS ee] 0 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights 6 430 Banks and Banking
O 151 Medicare Act O 330 Federal Employers” Product Liability O 830 Patent 6 450 Commerce
O 152 Recovery of Defaulted Liability O 368 Asbestos Personal 0 835 Patent - Abbreviated © 460 Deportation
Student Loans OC 340 Marine Injury Product New Drug Application 10) 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability O 840 Trademark Corrupt Organizations
© 153 Recovery of Overpayment Liability PERSONAL PROPERTY E CIAL SECU 22101 480 Consumer Credit
of Veteran’s Benefits CO 350 Motor Vehicle 370 Other Fraud O 710 Fair Labor Standards O 861 HIA (1395ff) 0 485 Telephone Consumer
0 160 Stockholders’ Suits OG 355 Motor Vehicle O 371 Truth in Lending Act O 862 Black Lung (923) Protection Act
© 190 Other Contract Product Liability P$ 380 Other Personal 0 720 Labor/Management O 863 DIWC/DIWW (405(g)) |G 490 Cable/Sat TV
0 195 Contract Product Liability | 360 Other Personal Property Damage Relations 0 864 SSID Title XVI 1 850 Securities/Commodities/
O 196 Franchise Injury O 385 Property Damage O 740 Railway Labor Act O 865 RSI (405(g)) Exchange
© 362 Personal Injury - Product Liability C1 751 Family and Medical C1 890 Other Statutory Actions
Medical Malpractice Leave Act OF 891 Agricultural Acts
2 ROPE i ISONER PETE 40) 790 Other Labor Litigation fs 0 893 Environmental Matters
O 210 Land Condemn: O 440 Other Civil Rights Habeas Corpus: C791 Employee Retirement 0 870 Taxes (U.S. Plaintiff CG 895 Freedom of Information
O 220 Foreclosure 0 441 Voting O 463 Alien Detainee Income Security Act or Defendant) Act
O 230 Rent Lease & Ejectment G 442 Employment 0 510 Motions to Vacate O 871 IRS—Third Party 0 896 Arbitration
O 240 Torts to Land O 443 Housing/ Sentence 26 USC 7609 0 899 Administrative Procedure
© 245 Tort Product Liability Accommodations O 530 General Act/Review or Appeal of
© 290 All Other Real Property O 445 Amer. w/Disabilities -] 535 Death Penalty ’ Agency Decision
Employment Other: on Application 0 950 Constitutionality of
0 446 Amer. w/Disabilities -] 0 540 Mandamus & Other [0 465 Other Immigration State Statutes
Other 0 550 Civil Rights Actions
& 448 Education 0 555 Prison Condition
0 560 Civit Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
XK Original O 2 Removed from O 3. Remanded from O 4 Reinstatedor © 5 Transferred from © 6 Mulltidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes uniess diversity .
Medical Malpractice laws of the State patient care act among other civil laws of the state federal medical laws

Brief description of cause: . . . . . .
Patient decision care treatment standards ethic ethical decision to care and to treat without interfercesion

 

VI. CAUSE OF ACTION

 

 

 

VII. REQUESTED IN © CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: O Yes No
VIL RELATED CASE(S) ‘
‘See instructions):
IF ANY (See striction! Ge - | ___ DOCKET NUMBER

 

FOR OFFICE USE ONLY

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RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
